                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 1 of 61



                                                                1    HUNTON ANDREWS KURTH LLP
                                                                     Ann Marie Mortimer (State Bar No. 169077)
                                                                2
                                                                     amortimer@HuntonAK.com
                                                                3    Jason J. Kim (State Bar No. 221476)
                                                                4    kimj@HuntonAK.com
                                                                     Jeff R. R. Nelson (State Bar No. 301546)
                                                                5    jnelson@HuntonAK.com
                                                                6    550 South Hope Street, Suite 2000
                                                                     Los Angeles, California 90071-2627
                                                                7    Telephone: (213) 532-2000
                                                                8    Facsimile: (213) 532-2020

                                                                9    Attorneys for Plaintiffs
                                                                10   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                11
                           Los Angeles, California 90071-2627




                                                                                          UNITED STATES DISTRICT COURT
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12
                                                                                       NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                              SAN FRANCISCO DIVISION
                                                                14
                                                                     FACEBOOK, INC., a Delaware               CASE NO.: 3:20-CV-06023
                                                                15   corporation, and INSTAGRAM, LLC, a
                                                                     Delaware limited liability company,      COMPLAINT; DEMAND FOR JURY
                                                                16                                            TRIAL
                                                                17              Plaintiffs,
                                                                18
                                                                          v.
                                                                19
                                                                20   NIKOLAY HOLPER,
                                                                             aka “Nikolai Holper,”
                                                                21           d/b/a Nakrutka,
                                                                22
                                                                                Defendant.
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                                                         3:20-cv-06023
                                                                                              COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 2 of 61



                                                                1          Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) assert
                                                                2    the following:
                                                                3                                      INTRODUCTION
                                                                4          1.     Since at least as early as June 26, 2017, and continuing to the date of this
                                                                5    filing, Defendant Nikolay Holper, doing business as “Nakrutka,” has operated an
                                                                6    unlawful business designed to artificially inflate the “likes,” “comments,” “views,”
                                                                7    and “followers” of Instagram accounts (“fake engagement”). Defendant used a
                                                                8    network of computers or “bots” and Instagram accounts to deliver automated likes to
                                                                9    his customers’ Instagram accounts and promoted his fake engagement service using
                                                                10   infringing Instagram marks, in violation of Instagram’s Terms of Use (“TOU”)1,
                                                                11   Community Guidelines2, and California and federal law. Defendant interfered and
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   continues to interfere with Instagram’s service, created an inauthentic experience of
                                                                13   Instagram users, and attempted to fraudulently influence Instagram users for his own
                                                                14   enrichment. Facebook and Instagram bring this action for injunctive relief to stop any
                                                                15   continued and future misuse of their platforms by Defendant in violation of
                                                                16   Instagram’s TOU and Community Guidelines; to obtain compensatory, punitive, and
                                                                17   exemplary damages under California Penal Code § 502 and the Computer Fraud and
                                                                18   Abuse Act, 18 U.S.C. § 1030; and to obtain damages and injunctive relief to stop
                                                                19   Defendant’s ongoing unlawful and harmful conduct, pursuant to the Lanham Act, 15
                                                                20   U.S.C. §§ 1114, 1125.
                                                                21                                          PARTIES
                                                                22         2.     Plaintiff Facebook is a Delaware corporation with its principal place of
                                                                23   business in Menlo Park, California.
                                                                24
                                                                25
                                                                26
                                                                27   1
                                                                      Instagram TOU can be found at https://help.instagram.com/581066165581870.
                                                                28   2
                                                                      Instagram Community Guidelines can be found at
                                                                     https://help.instagram.com/477434105621119.
                                                                                                                1                                 3:20-cv-06023
                                                                                               COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 3 of 61



                                                                1             3.   Plaintiff Instagram is a Delaware limited liability company with its
                                                                2    principal place of business in Menlo Park, California. Instagram is a subsidiary of
                                                                3    Facebook.
                                                                4             4.   Defendant Holper is a resident of Minsk, Belarus. Defendant is the
                                                                5    owner of the Nakrutka fake engagement service. As early as 2017, Defendant used
                                                                6    various websites to promote the Nakrutka service, including nakrutka.by, nakrutka.cc,
                                                                7    and nakrutka.com (collectively, the “Nakrutka Websites”). Exhibit 1.3
                                                                8                                JURISDICTION AND VENUE
                                                                9             5.   The Court has federal question jurisdiction over the federal causes of
                                                                10   action alleged in this Complaint pursuant to 28 U.S.C. § 1331.
                                                                11            6.   The Court has supplemental jurisdiction over the state law causes of
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   action alleged in this Complaint pursuant to 28 U.S.C. § 1367 because these claims
                                                                13   arise out of the same nucleus of operative fact as Facebook and Instagram’s federal
                                                                14   claim.
                                                                15            7.   In addition, the Court has jurisdiction over all the causes of action alleged
                                                                16   in this Complaint pursuant to 28 U.S.C. § 1332 because complete diversity between
                                                                17   the Plaintiffs and the named Defendant exists, and because the amount in controversy
                                                                18   exceeds $75,000.
                                                                19            8.   The Court has personal jurisdiction over Defendant because Defendant
                                                                20   personally used Instagram, his business used thousands of Instagram accounts, and,
                                                                21   accordingly, he agreed to Instagram’s TOU. Instagram’s TOU require Defendant to
                                                                22   submit to the personal jurisdiction of this Court for litigating any claim, cause of
                                                                23   action, or dispute with Instagram.
                                                                24            9.   In addition, the Court has personal jurisdiction because Defendant
                                                                25   knowingly directed his actions at Facebook and Instagram, which have their principal
                                                                26   place of business in California. For example, Defendant’s entire business model
                                                                27
                                                                28   3
                                                                      Exhibit Nos. 1, 4-5 and 7 reflect machine translations using open source tooling to
                                                                     convert Russian text to English.
                                                                                                                 2                                 3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 4 of 61



                                                                1    depends on accessing and using Instagram to artificially manipulate Instagram
                                                                2    accounts in exchange for money and Defendant has promoted his unlawful business
                                                                3    using infringing Instagram marks. Defendant also transacted business and engaged in
                                                                4    commerce in California, including providing fake engagement services to users
                                                                5    located in California. Plaintiffs’ claims arise directly from all of these California
                                                                6    contacts.
                                                                7          10.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b),
                                                                8    as the threatened and actual harm to Facebook and Instagram occurred in this District.
                                                                9    Venue is also proper with respect to Defendant pursuant to 28 U.S.C. §1391(c)(3)
                                                                10   because no defendant resides in the United States.
                                                                11         11.    Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   Francisco or Oakland division because Facebook and Instagram are located in San
                                                                13   Mateo County.
                                                                14                                FACTUAL ALLEGATIONS
                                                                15   A.    Background on Facebook and Instagram
                                                                16         12.    Facebook is a social networking website and mobile application that
                                                                17   enables its users to create their own personal profiles and connect with each other on
                                                                18   their personal computers and mobile devices. As of March 2020, Facebook daily
                                                                19   active users averaged 1.73 billion and monthly active users averaged 2.6 billion,
                                                                20   worldwide. Facebook has several products, including Instagram.
                                                                21         13.    Instagram is a photo and video sharing service, mobile application, and
                                                                22   social network. Instagram users can post photos and videos to their profile. They can
                                                                23   also view, comment on, and like posts shared by others on Instagram. As of 2020,
                                                                24   Instagram had over one billion active accounts, worldwide.
                                                                25         14.    When an Instagram user posts a photo, other Instagram users can view
                                                                26   the photo and choose to “like” or “comment” on it. For private accounts, followers of
                                                                27   the account can see the post. For public accounts, anyone can see the post. When a
                                                                28   photo is liked or commented on, that like or comment can be seen by anyone who can

                                                                                                                 3                                 3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                            Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 5 of 61



                                                                1    see the post. For marketing and other commercial purposes, certain Instagram users
                                                                2    strive to increase the number of followers, views, likes, and comments they receive to
                                                                3    increase their visibility and popularity on Instagram.
                                                                4             15.   Instagram users can gain followers, views, likes, and comments, but only
                                                                5    from other registered Instagram users. If a visitor to Instagram does not have an
                                                                6    Instagram account and tries to like or comment a post, the visitor is redirected to the
                                                                7    Instagram login page to enter their Instagram credentials or to create a new Instagram
                                                                8    account.
                                                                9             16.   Everyone who uses Instagram agrees to Instagram’s TOU and other rules
                                                                10   that govern access to and use of Instagram, including Instagram’s Community
                                                                11   Guidelines. The Instagram TOU state that because Instagram is a Facebook product,
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   the Instagram TOU constitute an agreement between the Instagram users and
                                                                13   Facebook.
                                                                14            17.   Since at least April 2018, Instagram’s TOU prohibit users from (a)
                                                                15   “do[ing] anything unlawful, misleading, or fraudulent or for an illegal or unauthorized
                                                                16   purpose;” (b) “interfer[ing] or impair[ing] the intended operation of [Instagram];” (c)
                                                                17   “attempt[ing] to buy, sell, or transfer any aspect of [an Instagram] account;” (d)
                                                                18   “creating accounts or collecting information in an automated way . . . ;” and (e)
                                                                19   “violat[ing] (or help[ing] or encourag[ing] others to violate) [Instagram] terms or their
                                                                20   policies including . . . the Instagram Community Guidelines.”
                                                                21            18.   In addition, Instagram’s TOU require users to “use [Instagram’s]
                                                                22   intellectual property and trademarks or similar marks,” only “as expressly permitted
                                                                23   by [Instagram’s] Brand Guidelines[4] or with [] prior written permission.” The Brand
                                                                24   Guidelines prohibit using the marks in a way that “[m]akes the Instagram brand the
                                                                25   most distinctive or prominent feature,” “[i]mplies partnership, sponsorship or
                                                                26   endorsement,” or “combine[s] ‘Insta’ or ‘gram’ with [the user’s] own brand.”
                                                                27
                                                                28
                                                                     4
                                                                         Instagram Brand Guidelines can be found at https://en.instagram-brand.com/.
                                                                                                                 4                                3:20-cv-06023
                                                                                                 COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 6 of 61



                                                                1          19.    Instagram’s Community Guidelines prohibit users from “artificially
                                                                2    collecting likes, followers, or shares,” and “create[ing] accounts for the purpose of
                                                                3    violating [Instagram’s] guidelines.”
                                                                4    B.    Defendant Infringed Instagram’s Registered Trademarks
                                                                5          20.    Instagram owns the exclusive rights to the highly distinctive
                                                                6    INSTAGRAM word mark, having used the mark in connection with its goods and
                                                                7    services as early as 2010.
                                                                8          21.    In addition to its extensive common law rights, Instagram owns
                                                                9    numerous United States registrations for the INSTAGRAM word mark, including:
                                                                10                1.    United States Registration Number 4,822,600;
                                                                11                2.    United States Registration Number 4,146,057;
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                3.    United States Registration Number 4,756,754;
                                                                13                4.    United States Registration Number 4,863,595;
                                                                14                5.    United States Registration Number 4,863,594;
                                                                15                6.    United States Registration Number 5,566,030;
                                                                16                7.    United States Registration Number 4,170,675; and
                                                                17                8.    United States Registration Number 4,827,509.
                                                                18         22.    Copies of these registration certificates are attached to this Complaint as
                                                                19   Exhibit 2. Instagram’s common law and registered trademark rights are collectively
                                                                20   referred to as the “Instagram Trademarks” or “Instagram’s Trademarks.”
                                                                21         23.    In or about January 2020, Plaintiffs learned that, beginning no later than
                                                                22   2017, Defendant had registered, trafficked, and used the domain instagram.by, which
                                                                23   is identical or confusingly similar to the Instagram Trademarks. Exhibit 3.
                                                                24         24.    Instagram’s use of the Instagram Trademarks in interstate commerce has
                                                                25   been extensive, continuous, and substantially exclusive. Instagram has made, and
                                                                26   continues to make, a substantial investment of time and effort in the promotion of
                                                                27   Instagram and the Instagram Trademarks. Through Instagram’s widespread use of the
                                                                28   Instagram Trademarks, extensive and continuous media coverage, the high degree of

                                                                                                                 5                                3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 7 of 61



                                                                1    consumer recognition of the Instagram Trademarks, Instagram’s enormous and loyal
                                                                2    user base, its multiple trademark registrations and pending applications, and other
                                                                3    factors, the Instagram Trademarks are highly distinctive and enjoy widespread
                                                                4    recognition among consumers pre-dating Defendant’s infringing use. Further, the
                                                                5    INSTAGRAM word mark is famous within the meaning of Section 43(a) of the
                                                                6    United States Trademark Act, 15 U.S.C. § 1125(c).
                                                                7          25.      Since no later than August 2020, Defendant used the INSTAGRAM
                                                                8    word mark by (a) referring to his service as “CHEAT INSTAGRAM” and
                                                                9    “INSTAGRAM BOOST”; (b) including a fake Instagram copyright notice on the
                                                                10   Nakrutka Websites; and (c) inviting users of his service to e-mail him at
                                                                11   info@instagram.by. Exhibit 4. For example, the figures below show Defendant’s use
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   of the infringing marks on his website nakrutka.cc as of August 25, 2020.
                                                                13   Figure 1
                                                                14
                                                                                      C HEAT               INSTAGRAM
                                                                15
                                                                     Figure 2
                                                                16
                                                                17                                      CONTACTS

                                                                18
                                                                19

                                                                                                    ♦
                                                                            MA IL                        TELEGRAM                     FORUM
                                                                20
                                                                            info@instagram.by            NAKRUTKA                     RA.BY
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                                6                                3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 8 of 61



                                                                1    C.    Facebook and Instagram’s Past Enforcement Actions Against Defendant
                                                                2          26.    On or about January 1, 2020, Facebook disabled Defendant’s Facebook
                                                                3    and Instagram accounts, and notified Defendant that his access had been revoked and
                                                                4    that his fake engagement activity violated Facebook’s and Instagram’s TOU and U.S.
                                                                5    law. Later that same day, Defendant responded to Facebook’s notice indicating that
                                                                6    he refused to cease his unlawful activities.
                                                                7          27.    Later that same day, Defendant wrote on the online forum ra.by a post
                                                                8    titled “Harassing people on Instagram and Facebook” and complained about how
                                                                9    several of his personal accounts, as well as accounts associated with his service, had
                                                                10   been disabled and shared a screenshot of the January 1, 2020 notice and his response.
                                                                11   Exhibit 5.
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12         28.    Despite Facebook’s enforcement and notice to Defendant, he continued
                                                                13   to provide fake engagement services on the Nakrutka Websites.
                                                                14         29.    On February 12, 2020, Facebook sent a cease and desist letter to
                                                                15   Defendant for continuing to sell fake engagement services through various websites
                                                                16   including nakrutka.by. Exhibit 6.
                                                                17         30.    In the February 12, 2020 cease and desist letter, Facebook demanded that
                                                                18   Defendant stop violating Instagram’s TOU and Platform Policy5, including by
                                                                19   misleading Instagram users, automating user actions, accessing Instagram through
                                                                20   automated means, and facilitating or encouraging others to violate Instagram’s TOU.
                                                                21   The February 12, 2020 cease and desist letter also informed Defendant that his actions
                                                                22   may have violated state and federal laws, including Computer Fraud and Abuse Act,
                                                                23   18 U.S.C. § 1030, and California Comprehensive Computer Data Access and Fraud
                                                                24   Act, Cal. Penal Code § 502(c).
                                                                25         31.    Defendant has not acknowledged or responded to the February 12, 2020
                                                                26   cease and desist letter, and continues to promote his fake engagement service on the
                                                                27
                                                                28   5
                                                                      Instagram Platform Policy can be found at
                                                                     https://help.instagram.com/325135857663734
                                                                                                              7                                  3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                              Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 9 of 61



                                                                1    Nakrutka Websites.
                                                                2    D.         Defendant Used an Automated Process, Bots, and Instagram Accounts to
                                                                3               Artificially Inflate Instagram Users’ Likes and Interfere with Facebook
                                                                4               and Instagram’s Service and Computer Network
                                                                5               32.          Since at least as early as June 26, 2017 and continuing to the present,
                                                                6    Defendant has marketed his fake engagement services and conducted financial
                                                                7    transactions with his customers on the Nakrutka Websites. Defendant offered, and
                                                                8    continues to offer, “INSTAGRAM BOOST” and “CHEAT INSTAGRAM” services,
                                                                9    offering for sale Followers, Likes, Views, and Comments. See Exhibits 4, 7.
                                                                10              33.          Defendant charges fluctuating pricing, depending on the type of fake
                                                                11   engagement being purchased, the quantity thereof, and the perceived authenticity,
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   charging higher prices for more authentic-appearing engagement. The pricing ranges
                                                                13   up to 1,700 rubles per transaction.
                                                                14              34.          The figure shown below lists a sampling of Defendant’s pricing structure
                                                                15   as of August 25, 2020 (see Exhibit 7), from his website nakrutka.com:
                                                                16   Figure 3
                                                                17                                                                                                 Minimum
                                                                                                                                                                                   Cost per        Price over
                                                                       Type of promotion         Description                           Minimum         Maximum                     1000            1000 for
                                                                                                                                                                   cost
                                                                18                                                                                                                 (RUB)           resellers


                                                                19                             Bots with avatars. I Write-offs:
                                                                     1. Likes - 38r                                                   10             10 000      0.38p for 10    38p per 1000    34p per 1000
                                                                                               98%
                                                                20                             Subscribers mix: bots, offers, live.
                                                                     5. Subscribers - 185      Speed up to a thousand per day.                                                   185p per
                                                                21   rubles                    Cheat with a margin. I Write-offs:
                                                                                                                                      10             5 000       1.85p for 10
                                                                                                                                                                                 1000
                                                                                                                                                                                                 167p per 1000

                                                                                               40%
                                                                22
                                                                                               Mix subscribers - offers and live
                                                                23   10. Subscribers - 269     from different countries. Quick
                                                                                                                                      100            5000        26.9p per 100
                                                                                                                                                                                 269p per
                                                                                                                                                                                                 242p for 1000
                                                                     rubles                    start and uniform wrapping with                                                   1000
                                                                24                             a margin. I

                                                                     11 . Subscribers - 61     Bots with avatars. No guarantee.
                                                                25   rubles                    I Write-offs: 99%
                                                                                                                                      10             10000       0.61 p for 10   61p for 1000    55p per 1000


                                                                26                             Bots with avatars. Large write-
                                                                                               offs. Automatic rewinding of
                                                                27   12. Subscribers (AR7 +    subscribers within 7 days if there
                                                                                                                                      10             10000       0.22p for 10    22p for 1000    20p per 1000
                                                                     300) - 22 rubles          is a lack of quantity, but not more
                                                                28                             than 300% of the number of
                                                                                               subscribers ordered.   I

                                                                                                                                                 8                                              3:20-cv-06023
                                                                                                                   COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 10 of 61



                                                                1             35.   Defendant used a network of bots and Instagram accounts that he
                                                                2    controlled to deliver millions of automated likes to his customers. Some of the
                                                                3    Instagram accounts used by Defendant were responsible for over 8 million likes over
                                                                4    the course of just two days.
                                                                5             36.   For example, on or about February 2, 2020, after purchasing 10,000 likes
                                                                6    from Defendant on the Nakrutka Websites, specifically nakrutka.by, an Instagram user
                                                                7    posted a black-and-white photo of a goat on their Instagram account. Although the
                                                                8    account had no followers and the photo had no comments, the photo received almost
                                                                9    10,000 likes within minutes. Also on February 2, 2020, at least five other Instagram
                                                                10   users purchased likes from Defendant on the same website and posted the same photo
                                                                11   of a goat on their respective Instagram accounts. Although these accounts had no
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   followers and the photos had no comments, the photos received between ~3,000 and
                                                                13   ~10,000 likes within minutes. All likes and follows came from Defendant’s network
                                                                14   of Instagram accounts using more than 180,000 IP addresses associated with
                                                                15   thousands of internet service providers located in, among other places, the United
                                                                16   States, with thousands of likes and follows originating from California IP addresses.
                                                                17   E.       Defendant Unjustly Enriched Himself and his Unlawful Acts Have Caused
                                                                18            Damage and a Loss to Facebook and Instagram
                                                                19            37.   Defendant’s breaches of Instagram’s TOU, Brand Guidelines, and
                                                                20   Community Guidelines have caused Facebook and Instagram substantial harm.
                                                                21   Defendant interfered and continues to interfere with Instagram’s service and burden
                                                                22   Facebook and Instagram’s computer network. Moreover, Defendant created and
                                                                23   continues to create an inauthentic experience for Instagram users who used, viewed,
                                                                24   and relied on Defendant’s fake engagement services, thus damaging Instagram’s
                                                                25   brand.
                                                                26            38.   Defendant’s actions injured Facebook and Instagram’s reputation, public
                                                                27   trust, and goodwill.
                                                                28

                                                                                                                 9                              3:20-cv-06023
                                                                                                 COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 11 of 61



                                                                1          39.       Facebook and Instagram have suffered damages attributable to the efforts
                                                                2    and resources it has used to address this Complaint, investigate and mitigate
                                                                3    Defendant’s illegal conduct, and attempt to identify, analyze, and stop his fraudulent
                                                                4    and injurious activities.
                                                                5          40.       Since February 2020, Defendant unjustly enriched himself at the expense
                                                                6    of Facebook and Instagram in the amount to be determined at trial.
                                                                7                                   FIRST CAUSE OF ACTION
                                                                8                                        (Breach of Contract)
                                                                9          41.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                10   forth herein.
                                                                11         42.       Defendant created a personal Instagram account and agreed to
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   Instagram’s TOU, Brand Guidelines, and Community Guidelines. The Instagram
                                                                13   service is owned and operated by Facebook, Inc. Since April 2018, the Instagram
                                                                14   TOU have stated that Instagram is a Facebook product and that the Instagram TOU
                                                                15   constitute an agreement between Instagram users and Facebook.
                                                                16         43.       In addition, since as early as June 2017, Defendant used thousands of
                                                                17   Instagram accounts to provide his services, which were also governed by Instagram’s
                                                                18   TOU and Community Guidelines. Because Defendant’s unlawful business used and
                                                                19   targeted Instagram users, Defendant agreed to Instagram’s TOU, Brand Guidelines,
                                                                20   and Community Guidelines.
                                                                21         44.       Defendant, through the Nakrutka Websites, continually used Instagram
                                                                22   and caused it to be accessed and used to conduct Defendant’s fraudulent business.
                                                                23         45.       Despite Defendant’s agreement to Instagram’s TOU, Brand Guidelines,
                                                                24   and Community Guidelines, he repeatedly breached them. Not only did Defendant,
                                                                25   his fake engagement service, and his promotion of his service, violate Instagram’s
                                                                26   TOU, Brand Guidelines, and Community Guidelines, he has helped other Instagram
                                                                27   users violate them—itself a violation of the TOU and Community Guidelines.
                                                                28

                                                                                                                  10                              3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 12 of 61



                                                                1          46.       Defendant breached Instagram’s TOU and Community Guidelines by
                                                                2    taking the actions described above, including by accessing Instagram to fraudulently
                                                                3    and artificially inflate the likes associated with certain Instagram accounts using
                                                                4    thousands of other Instagram accounts and using Instagram’s trademarks or similar
                                                                5    marks in violation of Instagram’s TOU and Brand Guidelines and without Instagram’s
                                                                6    permission, all in an attempt to influence other Instagram users and enrich himself
                                                                7    while damaging Facebook and Instagram.
                                                                8          47.       Facebook and Instagram have performed all conditions, covenants, and
                                                                9    promises required of it in accordance with their agreements with Defendant.
                                                                10         48.       Defendant’s many breaches have caused Facebook and Instagram to
                                                                11   incur damages in the amount of at least $75,000, in addition to an amount to be
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   determined at trial.
                                                                13                                SECOND CAUSE OF ACTION
                                                                14                                   (California Penal Code § 502)
                                                                15         49.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                16   forth herein.
                                                                17         50.       Since January 2020, Defendant knowingly accessed and without
                                                                18   permission otherwise used Facebook and Instagram’s data, computers, computer
                                                                19   system, and computer network in order to (a) devise or execute any scheme or artifice
                                                                20   to defraud and deceive, and (b) to wrongfully control or obtain money, property, or
                                                                21   data, in violation of California Penal Code § 502(c)(1).
                                                                22         51.       Since January 2020, Defendant knowingly and without permission used
                                                                23   or caused to be used Facebook and Instagram’s computer services in violation of
                                                                24   California Penal Code § 502(c)(3).
                                                                25         52.       Since January 2020, by artificially inflating certain Instagram users’ likes
                                                                26   and impairing the intended operation of Instagram, Defendant knowingly and without
                                                                27   permission disrupted or caused the disruption of computer services of Facebook and
                                                                28

                                                                                                                  11                                3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 13 of 61



                                                                1    Instagram’s computers, computer systems, and/or computer networks in violation of
                                                                2    California Penal Code § 502(c)(5).
                                                                3          53.       Since January 2020, Defendant knowingly and without permission
                                                                4    accessed and caused to be accessed Facebook and Instagram’s computers, computer
                                                                5    systems, and/or computer networks in violation of California Penal Code § 502(c)(7).
                                                                6    Defendant accessed Facebook and Instagram’s computer network after Facebook
                                                                7    disabled his Instagram accounts and sent correspondence to Defendant revoking his
                                                                8    access.
                                                                9          54.       Because Facebook and Instagram suffered damages and a loss as a result
                                                                10   of Defendant’s actions and continue to suffer damages as a result of Defendant’s
                                                                11   actions, Facebook and Instagram are entitled to compensatory damages in an amount
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   to be determined at trial, attorney fees, and any other amount of damages proven at
                                                                13   trial, and injunctive relief under California Penal Code § 502(e)(1) and (2).
                                                                14         55.       Because Defendant willfully violated California Penal Code § 502, and
                                                                15   there is clear and convincing evidence that Defendant committed “fraud” as defined
                                                                16   by section 3294 of the Civil Code, Facebook and Instagram are entitled to punitive
                                                                17   and exemplary damages under California Penal Code § 502(e)(4).
                                                                18                                 THIRD CAUSE OF ACTION
                                                                19                       (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)
                                                                20         56.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                21   forth herein.
                                                                22         57.       Defendant’s access and use of Facebook and Instagram’s computers and
                                                                23   computer systems was unauthorized because Defendant accessed Facebook and
                                                                24   Instagram’s computer network after Facebook disabled his Instagram accounts and
                                                                25   sent correspondence to Defendant revoking his access.
                                                                26         58.       Facebook and Instagram computers and servers are protected computers
                                                                27   as defined by 18 U.S.C. § 1030(e)(2).
                                                                28

                                                                                                                  12                              3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                             Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 14 of 61



                                                                1             59.   Since January 2020, Defendant violated 18 U.S.C. § 1030(a)(4) because
                                                                2    he knowingly and with intent to defraud accessed Facebook and Instagram-protected
                                                                3    computers by sending unauthorized commands to Facebook and Instagram computers.
                                                                4    Defendant sent the commands to Facebook and Instagram computers to manipulate
                                                                5    Instagram’s service by fraudulently inflating likes of certain Instagram accounts.
                                                                6    Defendant did these acts in exchange for profit.
                                                                7             60.   Since January 2020, Defendant violated 18 U.S.C. § 1030(a)(5)(A)
                                                                8    because he knowingly and intentionally caused the transmission of a program,
                                                                9    information, code, or command, and, as a result of such conduct, intentionally
                                                                10   damaged Facebook and Instagram-protected computers.
                                                                11            61.   Since January 2020, Defendant violated 18 U.S.C. § 1030(a)(5)(B) by
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   intentionally accessing a protected computer without authorization, and, as a result of
                                                                13   such conduct, recklessly causing damage to Facebook and Instagram-protected
                                                                14   computers.
                                                                15            62.   Since January 2020, Defendant violated 18 U.S.C. § 1030(a)(5)(C) by
                                                                16   intentionally accessing a protected computer without authorization, and, as a result of
                                                                17   such conduct, causing damage to Facebook and Instagram-protected computers and a
                                                                18   loss.
                                                                19            63.   Defendant violated 18 U.S.C. § 1030(b) by conspiring or attempting to
                                                                20   commit the violation alleged in the preceding paragraph.
                                                                21            64.   Defendant’s conduct has caused a loss to Facebook and Instagram during
                                                                22   a one-year period in excess of $5,000.
                                                                23            65.   Defendant’s actions caused Facebook and Instagram to incur losses and
                                                                24   other economic damages, including, among other things, the expenditure of resources
                                                                25   to investigate and respond to Defendant’s fraudulent scheme. Facebook and Instagram
                                                                26   are entitled to be compensated for losses and damages in the amount to be determined
                                                                27   at trial, and any other amount proven at trial.
                                                                28

                                                                                                                13                              3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 15 of 61



                                                                1          66.       Facebook and Instagram have no adequate remedy at law that would
                                                                2    prevent Defendant from continuing his unlawful scheme. Permanent injunctive relief
                                                                3    is therefore warranted.
                                                                4                                 FOURTH CAUSE OF ACTION
                                                                5                                        (Unjust Enrichment)
                                                                6          67.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                7    forth herein.
                                                                8          68.       Defendant’s acts as alleged herein constitute unjust enrichment of
                                                                9    Defendant at Facebook and Instagram’s expense.
                                                                10         69.       Defendant accessed and used, without authorization or permission,
                                                                11   Facebook and Instagram’s service, platform, and computer network, all of which
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   belong to Facebook and Instagram.
                                                                13         70.       Defendant used Facebook and Instagram’s service, platform, and
                                                                14   computer network to, among other things, defraud and deceive Instagram users,
                                                                15   artificially inflate certain Instagram users’ likes, impair the intended operation of
                                                                16   Instagram, interfere with Instagram’s service, platform, and computer network, and
                                                                17   wrongfully obtain money from the operation of his unlawful business.
                                                                18         71.       Defendant received a benefit by profiting from his unauthorized use of
                                                                19   Facebook and Instagram’s service, platform, and computer network.
                                                                20         72.       Defendant’s retention of the profits derived from his unauthorized use of
                                                                21   Facebook and Instagram’s service, platform, and computer network would be unjust.
                                                                22         73.       Defendant’s unauthorized use of Facebook and Instagram’s service,
                                                                23   platform, and computer network has injured Facebook and Instagram’s reputation,
                                                                24   public-trust, and goodwill.
                                                                25         74.       Defendant’s unauthorized use of Facebook and Instagram’s service,
                                                                26   platform, and computer network has damaged Facebook and Instagram, including but
                                                                27   not limited to the time and money spent investigating and mitigating Defendant’s
                                                                28   unlawful conduct.

                                                                                                                  14                               3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 16 of 61



                                                                1          75.       Facebook and Instagram seek injunctive relief and damages in an amount
                                                                2    to be proven at trial, as well as disgorgement of Defendant’s ill-gotten profits in an
                                                                3    amount to be determined at trial.
                                                                4          76.       As a direct result of Defendant’s unlawful actions, Facebook and
                                                                5    Instagram have suffered and continue to suffer irreparable harm for which there is no
                                                                6    adequate remedy at law, and which will continue unless Defendant’s actions are
                                                                7    enjoined.
                                                                8                                  FIFTH CAUSE OF ACTION
                                                                9                           (Trademark and Service Mark Infringement of
                                                                10                    Plaintiff Instagram’s Trademarks Under 15 U.S.C. § 1114)
                                                                11         77.       Facebook and Instagram incorporate all other paragraphs as if fully set
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   forth herein.
                                                                13         78.       Defendant has intentionally used the Instagram Trademarks in interstate
                                                                14   commerce. Since 2010, Instagram has priority over Defendant’s use of the infringing
                                                                15   marks. Defendant’s use of the Instagram Trademarks is likely to cause confusion,
                                                                16   mistake, or deception as to the origin, sponsorship, or approval by Plaintiffs of
                                                                17   Defendant’s fake engagement services and the Nakrutka Websites.
                                                                18         79.       The above-described acts of Defendant constitute trademark and service
                                                                19   mark infringement in violation of 15 U.S.C. § 1114(1) and entitle Plaintiffs to relief.
                                                                20         80.       Defendant has unfairly profited from the trademark and service mark
                                                                21   infringement.
                                                                22         81.       By reason of Defendant’s acts of trademark and service mark
                                                                23   infringement, Instagram has suffered damage to the goodwill associated with the
                                                                24   Instagram Trademarks.
                                                                25         82.       Defendant has irreparably harmed Plaintiffs and, if not enjoined, will
                                                                26   continue to irreparably harm Plaintiffs and Instagram’s federally registered trademarks
                                                                27   and service marks.
                                                                28

                                                                                                                  15                               3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 17 of 61



                                                                1          83.       Defendant has irreparably harmed the general public and, if not enjoined,
                                                                2    will continue to irreparably harm the general public, which has an interest in being
                                                                3    free from confusion, mistake, and deception.
                                                                4          84.       Plaintiffs’ remedy at law is not adequate to compensate them for the
                                                                5    injuries inflicted by Defendant. Accordingly, Plaintiffs are entitled to permanent
                                                                6    injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                7          85.       Plaintiffs are entitled to recover Defendant’s profits, actual damages, and
                                                                8    the costs of this action pursuant to 15 U.S.C. § 1117(a). Plaintiffs are also entitled to
                                                                9    have their damages trebled under 15 U.S.C. § 1117(b).
                                                                10         86.       This is an exceptional case, making Plaintiffs eligible for an award of
                                                                11   reasonable attorneys’ fees pursuant to 15 U.S.C. 1117(a).
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                  SIXTH CAUSE OF ACTION
                                                                13           (Trademark and Service Mark Infringement of Instagram’s Trademarks
                                                                14                   and False Designation of Origin Under 15 U.S.C. § 1125(a))
                                                                15         87.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                16   forth herein.
                                                                17         88.       Instagram’s Trademarks are highly distinctive marks that are associated
                                                                18   with Instagram and exclusively identify its business, products, and services. Since
                                                                19   2010, Instagram has priority over Defendant’s use of the infringing marks.
                                                                20         89.       Defendant’s use in commerce of Instagram’s Trademarks, and variations
                                                                21   thereof, is likely to cause confusion, or to cause mistake, or to deceive the relevant
                                                                22   public that Defendant’s goods and services are authorized, sponsored, or approved by,
                                                                23   or are affiliated with, Instagram.
                                                                24         90.       Defendant’s acts constitute trademark and service mark infringement of
                                                                25   Instagram’s Trademarks, as well as false designation of origin, in violation of 15
                                                                26   U.S.C. § 1125(a), entitling Plaintiffs to relief.
                                                                27         91.       Defendant has unfairly profited from his conduct.
                                                                28

                                                                                                                  16                                3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 18 of 61



                                                                1          92.       By reason of the above-described acts of Defendant, Plaintiffs have
                                                                2    suffered damage to the good will associated with Instagram’s Trademarks.
                                                                3          93.       Defendant has irreparably harmed Plaintiffs and, if not enjoined, will
                                                                4    continue to irreparably harm Plaintiffs and Instagram’s Trademarks.
                                                                5          94.       Defendant has irreparably harmed the general public, and if not enjoined,
                                                                6    will continue to irreparably harm the general public, which has an interest in being
                                                                7    free from confusion, mistake, and deception.
                                                                8          95.       Plaintiffs’ remedy at law is not adequate to compensate them for the
                                                                9    injuries inflicted by Defendant. Accordingly, Plaintiffs are entitled to permanent
                                                                10   injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                11         96.       Plaintiffs are entitled to recover Defendant’s profits, actual damages, and
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   the costs of this action pursuant to 15 U.S.C. § 1117(a).
                                                                13         97.       This is an exceptional case, making Plaintiffs eligible for an award of
                                                                14   reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).
                                                                15                               SEVENTH CAUSE OF ACTION
                                                                16               (Dilution of the Instagram Trademarks Under 15 U.S.C. § 1125(c))
                                                                17         98.       Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                18   forth herein.
                                                                19         99.       The Instagram Trademarks are famous, as that term is used in 15 U.S.C.
                                                                20   § 1125(c), and they were famous before Defendant’s use of them and variations of the
                                                                21   trademarks in commerce. Since 2010, Instagram has priority over Defendant’s use of
                                                                22   the infringing marks. This fame is based on, among other things, the inherent
                                                                23   distinctiveness and federal registration of each of the Instagram Trademarks, as well
                                                                24   as the extensive and exclusive worldwide use, advertising, promotion, and recognition
                                                                25   of them.
                                                                26         100. Defendant’s use of the Instagram Trademarks, and variations thereof, in
                                                                27   commerce is likely to cause dilution by blurring or dilution by tarnishment of these
                                                                28   trademarks.

                                                                                                                  17                                3:20-cv-06023
                                                                                                  COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 19 of 61



                                                                1          101. Defendant’s acts constitute dilution by blurring and dilution by
                                                                2    tarnishment in violation of 15 U.S.C. § 1125(c), entitling Plaintiffs to relief.
                                                                3          102. Defendant has unfairly profited from his conduct.
                                                                4          103. Defendant damaged the goodwill associated with the Instagram
                                                                5    Trademarks and will continue to cause irreparable harm.
                                                                6          104. Plaintiffs’ remedy at law is not adequate to compensate it for the injuries
                                                                7    inflicted by Defendant. Accordingly, Plaintiffs are entitled to permanent injunctive
                                                                8    relief pursuant to 15 U.S.C. § 1116.
                                                                9          105. Because Defendant acted willfully, Plaintiffs are entitled to damages, and
                                                                10   those damages should be trebled pursuant to 15 U.S.C. § 1117(a).
                                                                11         106. This is an exceptional case, making Plaintiffs eligible for an award of
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).
                                                                13                              EIGHTH CAUSE OF ACTION
                                                                14         (Cybersquatting on the Instagram Trademarks Under 15 U.S.C. § 1125(d))
                                                                15         107. Facebook and Instagram incorporate all other paragraphs as if fully set
                                                                16   forth herein.
                                                                17         108. Beginning no later than 2015, Defendant registered, trafficked in, and
                                                                18   used the domain name instagram.by (the “Infringing Domain Name”).
                                                                19         109. Since 2010, Instagram has priority over Defendant’s use of the infringing
                                                                20   marks. The Instagram Trademarks were highly distinctive and federally registered at
                                                                21   the United States Patent and Trademark Office at the time Defendant registered and
                                                                22   used the Infringing Domain Name.
                                                                23         110. The Instagram Trademarks are and were famous within the meaning of
                                                                24   15 U.S.C. § 1125(c) at the time of the registration of the Infringing Domain Name.
                                                                25         111. The Infringing Domain name is identical or confusingly similar to the
                                                                26   Instagram Trademarks.
                                                                27         112. The Infringing Domain Name is dilutive of the Instagram Trademarks.
                                                                28

                                                                                                                 18                                3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 20 of 61



                                                                1          113. Defendant registered, tracked in, or used the Infringing Domain Name
                                                                2    with a bad faith intent to profit from the Instagram Trademarks.
                                                                3          114. The Infringing Domain Name does not consist of the legal name of
                                                                4    Defendant, nor does it consist of a name that is otherwise commonly used to identify
                                                                5    Defendant or his fake engagement service.
                                                                6          115. Defendant has not made any prior use of the Infringing Domain Name in
                                                                7    connection with the bona fide offering of any goods or services.
                                                                8          116. Defendant has not made any bona fide noncommercial or fair use of the
                                                                9    Instagram Trademarks on a website accessible at the Infringing Domain Name.
                                                                10         117. Defendant registered and used the Infringing Domain Name to divert
                                                                11   consumers from Instagram’s legitimate website (www.instagram.com) to websites
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12   accessible under the Infringing Domain Name for Defendant’s commercial gain by
                                                                13   creating a likelihood of confusion as to the source, sponsorship, affiliation, or
                                                                14   endorsement of his websites.
                                                                15         118. Defendant’s registration, trafficking, and/or use of the Infringing Domain
                                                                16   Name constitutes cybersquatting in violation of 15 U.S.C. § 1125(d), entitling
                                                                17   Plaintiffs to preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.
                                                                18         119. Plaintiffs are entitled to recover their costs as well as Defendant’s profits,
                                                                19   Plaintiffs’ actual damages, or statutory damages under 15 U.S.C. § 1117, on election
                                                                20   by Plaintiffs, in an amount of $100,000 per domain name.
                                                                21         120. This is an exceptional case making Plaintiffs eligible for an award of
                                                                22   attorneys’ fees under 15 U.S.C. § 1117.
                                                                23                                  REQUEST FOR RELIEF
                                                                24         WHEREFORE, Plaintiffs request judgment against Defendant as follows:
                                                                25         1.     That the Court enter judgment against Defendant that Defendant has:
                                                                26                a.     Violated the Computer Fraud and Abuse Act, in violation of 18
                                                                27                       U.S.C. § 1030;
                                                                28

                                                                                                                19                                3:20-cv-06023
                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                     Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 21 of 61



                                                                1           b.    Violated the California Comprehensive Computer Data Access and
                                                                2                 Fraud Act, in violation of California Penal Code § 502;
                                                                3           c.    Breached Defendant’s contracts with Facebook and Instagram in
                                                                4                 violation of California law;
                                                                5           d.    Been unjustly enriched at the expense of Facebook and Instagram
                                                                6                 in violation of California law;
                                                                7           e.    Infringed Plaintiffs’ rights in the federally registered Instagram
                                                                8                 Trademarks, in violation of 15 U.S.C. § 1114(1);
                                                                9           f.    Infringed Plaintiffs’ rights in the Instagram Trademarks, in
                                                                10                violation of 15 U.S.C. § 1125(a);
                                                                11          g.    Infringed Plaintiffs’ rights in the federally registered Instagram
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                Trademarks, in violation of 15 U.S.C. § 1125(c); and
                                                                13          h.    Infringed Plaintiffs’ rights in the federally registered Instagram
                                                                14                Trademarks, in violation of 15 U.S.C. § 1125(d).
                                                                15    2.    That each of the above acts in Prayer 1(e)-(h) was willful.
                                                                16    3.    That the Court enter a permanent injunction enjoining and restraining
                                                                17          Defendant and his agents, servants, employees, successors, and assigns,
                                                                18          and all other persons acting in concert with or conspiracy with any of
                                                                19          them or who are affiliated with Defendant from:
                                                                20          a.    Accessing or attempting to access Facebook and Instagram’s
                                                                21                service, platform, and computer systems;
                                                                22          b.    Creating or maintaining any Instagram accounts in violation of
                                                                23                Instagram’s TOU;
                                                                24          c.    Engaging in any activity that disrupts, diminishes the quality of,
                                                                25                interferes with the performance of, or impairs the functionality of
                                                                26                Facebook and Instagram’s service, platform, and computer
                                                                27                systems;
                                                                28

                                                                                                         20                                3:20-cv-06023
                                                                                         COMPLAINT; DEMAND FOR JURY TRIAL
                                                                     Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 22 of 61



                                                                1           d.    Engaging in any activity, or facilitating others to do the same, that
                                                                2                 violates Instagram’s TOU, Community Guidelines, or other related
                                                                3                 policy referenced herein;
                                                                4           e.    Engaging in any use, including advertising, promoting, marketing,
                                                                5                 franchising, selling, and offering for sale any goods or services, in
                                                                6                 connection with the Instagram Trademarks, or any similar mark or
                                                                7                 designation, that is likely to cause confusion, or to cause mistake
                                                                8                 as to the affiliation of that use with Instagram;
                                                                9           f.    Engaging in any activity which tarnishes or lessens the
                                                                10                distinctiveness of the Instagram Trademarks; and
                                                                11          g.    Registering, trafficking, or using any domain name that is identical
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                or confusingly similar to any of the Instagram Trademarks.
                                                                13    4.    That Facebook and Instagram be awarded damages, including, but not
                                                                14          limited to, compensatory, statutory, and punitive damages, as permitted
                                                                15          by law and in such amounts to be proven at trial.
                                                                16    5.    That Plaintiffs be awarded damages for Defendant’s trademark
                                                                17          infringement and false designation of origin and that these damages be
                                                                18          trebled due to Defendant’s willfulness, in accordance with the provisions
                                                                19          of 15 U.S.C. § 1117.
                                                                20    6.    That Defendant accounts for, hold in constructive trust, pay over to
                                                                21          Facebook and Instagram, and otherwise disgorge profits derived from
                                                                22          Defendant’s unjust enrichment, in an amount to be determined at trial.
                                                                23    7.    That Plaintiffs be awarded $100,000 in statutory damages per infringing
                                                                24          domain name by reason of Defendant’s cybersquatting in accordance
                                                                25          with the provisions of 15 U.S.C. § 1117.
                                                                26    8.    That Facebook and Instagram be awarded their reasonable costs,
                                                                27          including reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1117 and
                                                                28          any other applicable provision of law.

                                                                                                         21                                 3:20-cv-06023
                                                                                         COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 23 of 61



                                                                1         9.    That Facebook and Instagram be awarded pre- and post-judgment interest
                                                                2               as allowed by law.
                                                                3         10.   That the Court grant all such other and further relief as the Court may
                                                                4               deem just and proper.
                                                                5
                                                                6    Dated: August 27, 2020                   HUNTON ANDREWS KURTH LLP
                                                                7
                                                                8                                                 By:        /s/ Ann Marie Mortimer
                                                                9                                                          Ann Marie Mortimer
                                                                                                                           Jason J. Kim
                                                                10                                                         Jeff R. R. Nelson
                                                                11                                                      Attorneys for Plaintiffs
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000




                                                                                                                        FACEBOOK, INC. and
Hunton Andrews Kurth LLP




                                                                12                                                      INSTAGRAM, LLC
                                                                13
                                                                                                                           Platform Enforcement and
                                                                14                                                         Litigation
                                                                15                                                         Facebook, Inc.
                                                                                                                           Jessica Romero
                                                                16                                                         Bridget Anne Freeman
                                                                17
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                             22                                3:20-cv-06023
                                                                                              COMPLAINT; DEMAND FOR JURY TRIAL
                                                                           Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 24 of 61



                                                                1                                       DEMAND FOR JURY TRIAL
                                                                2            Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
                                                                3
                                                                4    Dated: August 27, 2020                            HUNTON ANDREWS KURTH LLP
                                                                5
                                                                6
                                                                                                                           By:        /s/ Ann Marie Mortimer
                                                                7                                                                   Ann Marie Mortimer
                                                                8                                                                   Jason J. Kim
                                                                                                                                    Jeff R. R. Nelson
                                                                9                                                                Attorneys for Plaintiffs
                                                                10                                                               FACEBOOK, INC. and
                                                                                                                                 INSTAGRAM, LLC
                                                                11
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                                                                                    Platform Enforcement and
                                                                12                                                                  Litigation
                                                                13                                                                  Facebook, Inc.
                                                                                                                                    Jessica Romero
                                                                14                                                                  Bridget Anne Freeman
                                                                15
                                                                16
                                                                17
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                     073923.0000053 EMF_US 81541381v3
                                                                                                                      23                                3:20-cv-06023
                                                                                                        COMPLAINT; DEMAND FOR JURY TRIAL
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 25 of 61




                        EXHIBIT 1



                             24
                                       2020-08-25 - Sign In page from nakrutka.com
                                      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 26 of 61




                                                         (    SI GN I N      )




                                    email or username


                                    password



                                  For got your passw ord:>                        SUBMIT
                                  Fo rgot your email?




                                       Registration of new users is closed!
We have no competitors, but many cop ies. Be carefu l and ca reful - there are a lot of scammers on the Internet.
   Ou r site can only be accessed by domains ending in nakrutka.by, nakrutka.cc, nakrutka.ru, nakrutka.com




                                              URL: https://nakrutka.com/login.php
                                                                   25
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 27 of 61




                        EXHIBIT 2



                             26
      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 28 of 61




                  INSTAGRAM
Reg. No. 4,822,600               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Sep. 29, 2015         MENLO PARK, cA 94035

Int. Cl.: 9                      FOR: DOWNLOADABLE COMPUTER SOFTWARE FOR MODIFYING THE APPEARANCE
                                 AND ENABLING TRANSMISSION OF IMAGES, AUDIO-VISUAL AND VIDEO CONTENT;
                                 COMPUTER SOFTWARE FOR TIIE COLLECTION, EDITING, ORGANIZING, MODIFYING,
TRADEMARK                        TRANSMISSION, STORAGE AND SHARING OF DATA AND INFORMATION; COMPUTER
                                 SOFTWARE FOR USE AS AN APPLICATION PROGRAMMING INTERFACE (AP!); COM-
PRINCIPAL REGISTER               PUTER SOFTWARE IN THE NATURE OF AN APPLICATION PROGRAMMING INTERFACE
                                 (AP!) WHICH FACILITATES ONLINE SERVICES FOR SOCIAL NETWORKING, BUILDING
                                 SOCIAL NETWORKING APPLICATIONS AND FOR ALLOWING DATA RETRIEVAL, UP-
                                 LOAD, DOWNLOAD, ACCESS AND MANAGEMENT; COMPUTER SOFTWARE TO ENABLE
                                 UPLOADING, DOWNLOADING, ACCESSING, POSTING, DISPLAYING, TAGGING,
                                 BLOGGING, STREAMING, LINKING, SHARING OR OTHERWISE PROVIDING ELECTRONIC
                                 MEDIA OR INFORMATION VIA COMPUTER AND COMMUNICATION NETWORKS, IN
                                 CLASS 9 (U.S. CLS. 21, 23, 26, 36AND 38).

                                 FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,174, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




                                                       27
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 29 of 61




                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use ( or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PRITTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §114lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 I RN # 4,822,600




                                                      28
             Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 30 of 61




                                  INSTAGRAM
Reg. No. 4,146,057                                          INSTAGRAM, INC. (DELAWARE CORPORATION)
                                                            I 8 I SOUTH PARK AVENUE
Registered May 22, 2012                                     SAN FRANc1sco, cA 94!07

Int. Cl.: 9                                                 FOR: DOWNLOADABLE COMPUTER SOFTWARE FOR MODIFYJNG nm APPEARANCE
                                                            AND ENABLING TRANSMISSION OF PHOTOGRAPHS, IN CLASS 9 (U.S. CLS. 21, 23, 26,
                                                            36AND 38).
TRADEMARK
                                                            FIRST USE 10-6-2010; IN COMMER.CE 10-6-2010.
PRINCIPAL REGISTER
                                                            THE MARK CONSISTS OF STANDARD CHARACTERS WrTTIOUT CLAIM TO ANY PAR-
                                                            TICULAR FONT, STYLE, SI7:E, OR COLOR.

                                                            THE WORDING "INSTAGRAM" HAS NO MEANING IN A FOREIGN LANGUAGE.

                                                            SER. NO. 85-426,267, FILED 9-19-2011.

                                                            BILL DAWE, EXAMINING ATTORNEY




Dircctnr of1he IJnitcd Sta.ks Patent and rrndcma1k Ot11ce




                                                                                  29
      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 31 of 61




               INSTAGRAM
Reg. NO. 4,756,754               INS TA GRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered June 16, 2015         MENLO PARK, cA 94025

Int. Cls.: 35 and 38             FOR: MARKETING, ADVERTISING AND PROMOTION SERVICES; DISSEMINATION OF
                                 ADVERTISING FOR OTHERS VIA COMPUTER AND COMMUNICATION NETWORKS;
                                 MARKETING AND ADVERTISING CONSULTATION SERVICES; PROMOTING THE GOODS
SERVICE MARK                     AND SERVICES OF OTHERS VIA COMPUTER AND COMMUNICATION NETWORKS;
                                 MARKET RESEARCH SERVICES; PROVISION OF MARKET RESEARCH INFORMATION,
PRINCIPAL REGISTER               IN CLASS 35 (U.S. CLS. 100, 101 AND 102).

                                 FIRST USE 8-0-2013; IN COMMERCE 11-1-2013.

                                 FOR: TELECOMMUNICATION SERVICES, NAMELY, TRANSMISSION OF ADVERTISE-
                                 MENTS AND MEDIA ADVERTISING COMMUNICATIONS VIA COMPUTER AND COM-
                                 MUNICATION NETWORKS, IN CLASS 38 (U.S. CLS. 100, 101 AND 104).

                                 FIRST USE 8-0-2013; IN COMMERCE 11-1-2013.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 86-100,072, FILED 10-24-2013.

                                 SANJEEV VOHRA, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




                                                       30
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 32 of 61




                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 I RN# 4,756,754




                                                      31
      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 33 of 61




                  INSTAGRAM
Reg. No. 4,863,595               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Dec. 1, 2015          MENLO PARK, CA 94025

Int. Cl.: 38                     FOR: TELECOMMUNICATIONS SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF
                                 DATA, MESSAGES, GRAPHICS, IMAGES, VIDEOS AND INFORMATION; PEER-TO-PEER
                                 PHOTO AND VIDEO SHARING SERVICES, NAMELY, ELECTRONIC TRANSMISSION OF
SERVICE MARK                     DIGITAL PHOTOS, VIDEO AND AUDIO-VISUAL FILES AMONG INTERNET USERS;
                                 PROVIDING ACCESS TO COMPUTER, ELECTRONIC AND ONLINE DATABASES;
PRINCIPAL REGISTER               PROVIDING ONLINE FORUMS FOR COMMUNICATION, NAMELY, TRANSMISSION ON
                                 TOPICS OF GENERAL INTEREST; PROVIDING ONLINE CHAT ROOMS AND ELECTRONIC
                                 BULLETIN BOARDS FOR TRANSMISSION OF MESSAGES AMONG USERS IN THE FIELD
                                 OF GENERAL INTEREST; BROADCASTING SERVICES OVER COMPUTER OR OTHER
                                 COMMUNICATION NETWORKS, NAMELY, UPLOADING, POSTING, DISPLAYING,
                                 TAGGING,AND ELECTRONICALLY TRANSMITTING DATA, INFORMATION, MESSAGES,
                                 GRAPHICS, VIDEOS, AND IMAGES, IN CLASS 38 (U.S. CLS. 100, 101 AND 104).

                                 FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,177, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




                                                       32
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 34 of 61




                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 I RN# 4,863,595




                                                      33
      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 35 of 61




                  INSTAGRAM
Reg. No. 4,863,594               INSTAGRAM, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Dec. 1, 2015          MENLO PARK, CA 94025

Int. Cl.: 41                     FOR: PROVIDING COMPUTER, ELECTRONIC AND ONLINE DATABASES IN THE FIELD
                                 OF ENTERTAINMENT; PUBLICATION OF ELECTRONIC JOURNALS AND WEB LOGS
                                 FEATURING USER GENERATED OR SPECIFIED CONTENT; PUBLISHING OF ELECTRONIC
SERVICE MARK                     PUBLICATIONS FOR OTHERS, IN CLASS 41 (U.S. CLS. 100, 101 AND 107).

PRINCIPAL REGISTER               FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 OWNER OF U.S. REG. NOS. 4,146,057 AND 4,170,675.

                                 SN 85-965,169, FILED 6-20-2013.

                                 BARBARA BROWN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




                                                       34
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 36 of 61




                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION
    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
ofUse (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World lntellectnal Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S.C. §l 14lj. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 I RN# 4,863,594




                                                      35
             Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 37 of 61




                               INSTAGRAM
Reg. No. 5,566,030                 lnstagram, LLC (DELAWAR E LIMITED LI ABILITY COMPANY)
                                   1601 Willow Road
Registered Sep. 18, 2018           Menlo Park, CALIFORNIA 94025

                                   CLASS 42: Providing a web site that gives users the ability to upload images; file sharing
Int. Cl.: 42                       services, namely, providing a website featuring technology enabling users to upload
                                   electronic files; providing a web site featuring technology that enables online users to create
Service Mark                       personal profiles featuring social networking information

Principal Register                 FIRST USE 11- 5-20 12; IN COMMERCE 11-5-2012

                                   THE MARK CONSISTS OP STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                   PARTICULAR FONT STYLE, SIZE OR COLOR

                                   OWNER OF U.S. REG. NO. 4 170675, 4 146057

                                   SER. NO. 85-965, 167, PILED06-20-2013




   Director of the United States
   Patent and Trademark Office




                                                         36
             Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 38 of 61




                                  INSTAGRAM
Reg. No. 4,170,675                                          INSTAGRAM, INC. (DELAWARE CORPORATION)
                                                            181 SOUTH PARK.AVENUE
Registered July 10, 2012                                    sANFRANcisco, cA 94107

Int. Cl.: 42                                                FOR: PROVIDING A WEB SITE THAT GIVES USERS THE ABILITY TO UPLOAD PHOTO-
                                                            GRAPHS; TECHNICAL SUPPORT SERVICES, NAMELY, PROVIDING HELP DESK SERVICES
                                                            IN THE FIELD OF COMPUTER SOFTWARE, NAMELY, PROVIDING USERS WITH INSTRUC-
SERVICE MARK                                                TIONS AND ADVICE ON THE USE OF DOWNLOADABLE COMPUTER SOFTWARE,
                                                            PROVIDED ONLINE AND VIA E-MAIL; COMPUTER SERVICES, NAMELY, PROVIDING
PRINCIPAL REGISTER                                          AN INTERACTIVE WEBSITE FEATURING TECHNOLOGY THAT ALLOWS USERS TO
                                                            MANAGE THEIR ONLINE PHOTOGRAPH AND SOCIAL NETWORKING ACCOUNTS, IN
                                                            CLASS 42 (U.S. CLS. l00AND 101).

                                                            FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                                            TICULAR FONT, STYLE, SIZE, OR COLOR.

                                                            THE WORD "INSTAGRAM" HAS NO MEANING IN A FOREIGN LANGUAGE.

                                                            SER. NO. 85-426,271, FILED 9-19-2011.

                                                            BILL DAWE, EXAMINING ATTORNEY




Director of the United States Patent and frademark Office




                                                                                  37
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 39 of 61




                         REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration ofU se (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.


  The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                               reminder of these filing requirements.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
based on the U.S. registration date (not the international registration date). The deadlines and grace periods
for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
See 15 U .S.C. §§ 1058, 114 lk. However, owners of international registrations do not file renewal applications
at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
before the expiration of each ten-year term of protection, calculated from the date of the international
registration. See 15 U.S. C. § 1141j. For more information and renewal forms for the international registration,
see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http ://www.uspto.gov.




                                           Page: 2 /RN# 4,170,675




                                                      38
      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 40 of 61




                  INSTAGRAM
Reg. No. 4,827,509               INSTAGRAM LLC (DELAWARE LIMITED LIABILITY COMPANY)
                                 1601 WILLOW ROAD
Registered Oct. 6, 2015          MENLO PARK, CA 94025

Int. Cl.: 45                     FOR: INTERNET BASED SOCIAL INTRODUCTION, NETWORKING AND DATING SER-
                                 VICES; PROVIDING INFORMATION IN THE FORM OF DATABASES FEATURING INFORM-
                                 ATION IN THE FIELDS OF SOCIAL NETWORKING, SOCIAL INTRODUCTION AND
SERVICE MARK                     DATING, IN CLASS 45 (U.S. CLS. 100 AND 101).

PRINCIPAL REGISTER               FIRST USE 10-6-2010; IN COMMERCE 10-6-2010.

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                 TICULAR FONT, STYLE, SIZE, OR COLOR.

                                 SN 85-965,171, FILED 6-20-2013.

                                 EUGENIA MARTIN, EXAMINING ATTORNEY




 Director of the United States
 Patent and Trademark Office




                                                       39
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 41 of 61




                          REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                 TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

            First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
           5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
           accepted, the registration will continue in force for the remainder of the ten-year period, calculated
           from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
           federal court.

           Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
           Application for Renewal between the 9th and 10th years after the registration date.*
           See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

           You must file a Declaration ofU se (or Excusable Nonuse) and an Application for Renewal between
           every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above
with the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
(USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
those for nationally issued registrations. See 15 U.S.C. §§ 1058, 1141k. However, owners of international
registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
underlying international registration at the International Bureau of the World Intellectual Property Organization,
under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
from the date of the international registration. See 15 U.S. C. § 1141j. For more information and renewal
forms for the international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online
at http ://www.uspto.gov.

NOTE: A courtesy e-mail reminder ofUSPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                           Page: 2 /RN# 4,827,509




                                                      40
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 42 of 61




                        EXHIBIT 3



                             41
                      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 43 of 61

8/12/2020                                                                    Iris | DomainTools


     Inspect: instagram.by

       Domain Profile              Screenshot History            Whois History           Hosting History   SSL Profile


                                                               2017-08-13 - (3 years ago)


     Domain                     instagram.by

     Record Date                2017-08-13

     Registrar

     Server                     whois.cctld.by

     Created

     Updated

     Expires

     Unique Emails                 jaholper@gmail.com

      Domain Name: instagram.by
      Registrar: Reliable Software, Ltd
      Org: ИП Холпер Николай Григорьевич
      Country: BY
      City: г. Жлобин
      Phone: +375336666769
      Email: jaholper@gmail.com
      Name Server: u1.hoster.by
      Name Server: u2.hoster.by
      Updated Date: 2016-11-18
      Creation Date: 2015-12-08
      Expiration Date: 2017-12-08



                                                                Historical Records
                                                                    28 records found




https://research.domaintools.com/iris/search/?q=instagram.by                                                             1/1




                                                                          42
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 44 of 61




                        EXHIBIT 4



                             43
                          2020-08-25 - Screenshot from nakrutka.cc
       Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 45 of 61




                 FOLLOWERS
                                                        v
                                                       LI K E S                            VI E WS                             COMMENTS




The number of subscribers is the                  High-quality promotion of subscribers is a d ifficult        Subscriber boosting allows you t o increase your
                                                  and t ime-consuming process. Every experienced user          authority in the eyes of potential customers a nd fans.
main indicator of the popularity of               has once faced a massive unsubscribe from winding            The audience is more loyal to communities with a

large communities on lnstagram.                   up subscribers. With us. you can choose to cheat             large number of subscribers. More participants jo in
                                                  subscribers according to various criteria, including         and more lucrative offers are received.
                                                  with a guarantee against cancellation.




            W E AR E A L WAYS TH E R E                               W E HAV E E V E RYTH I NG                                    ND D I FFICU LT TASKS
              While you are resting - we w ork                               C A LCULATED                                             We eas11y develop service

                                                               You have nothing to worry about - everything 1s
                                                                                 under co ntro l




                                                                  CO N T A CTS




                                                                   ~ELEGRAM                               F ll R l..J   r,.t

                           info@instagram.by                       NAKRUTKA                               RABY




                                                 URL: https://nakrutka.cc/
                                                            44
                            2020-08-25 - Screenshot from nakrutka.com
        Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 46 of 61




                                                         Q
                     F O L LOW ERS                      l IK E S                             V IE W S                COMMENTS




The number of subscribers is the                   H igh-quality promotion of subscribers is a difficult    Subscriber boosting allows you to increase your
                                                   and time-consuming process. Every experienced user       authority in the eyes of potential customers and fans.
main indicator of the popularity of                has once faced a massive unsubscnbe from winding         The audience is more loyal to communities with a

large communities on lnstagram.                    up subscribers. With us, you can choose t o cheat        large number of subscribers. More participants join
                                                   subscribers acco rd ing co various criteria, including   and more lucrative offers are received.
                                                   w ith a guarantee against cancellation.




                     Q
          W E HAVE MAGIC                                  W E AR E ALWAYS THERE                                    W E HAV E E V E RYTHING
        You will be pleasantly surprised                       Vl/hile you are resting• we work                            CALCULATED
                                                                                                             You have nothing to worry about - everything is
                                                                                                                              under control




                                                                   CONTACTS




                               MA l                                 TELE URAM

                               info@instagram.by                    NAKRUTKA




                                              URL: https://nakrutka.com/
                                                           45
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 47 of 61




                        EXHIBIT 5



                             46
                                 Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 48 of 61
                                           2020-08-25 - Forum post from ra.by




 HOLPER          Posted Ja11u3ry 1
    RA.BY
    •••          Today Facebook made a serious mistake and blocked the accounts of thousands of people on lnstagram and Facebook for
                 no reason. (The exact number of victims is not yet known and most likely Facebook will not give official comments on this
                 matter.)



                  1 hey blocked all accounts that somehow crossed with one person - Nikolai Helper. Many were subscribed to him on
                 lnstagram. someone had a phone number in contacts, many did not hear about it at all. but were somehow connected
                 t hrough thi rd parties. On what principle Facebook blocked accounts remains a mystery, according to the latest data,
Administrators
                 artificial intelligence simply collected users. who may be personally acquainted with Holper. There are suggestions that
   01376
 328-pos-s       third-party services also participated in this - Google and others, which helped to find connections between accounts,
                 transferring the necessary data from postal and other social. services.



                 After blocking, Facebook sent messages to all users in which it was said that they were accomplices of Nikolai Helper, who
                 violated the rules of lnstagram . and no one will be unblocked until Helper's sites are closed. Thus. Facebook showed its
                 dark side and violated the rights of a huge number of innocent people ... In fact. lnstagram set a group of other users
                 against one user, in their own interests. And for more effective bullying, those users were selected who are already familiar
                 with Holper and can have an influence on him. Thus, Facebook has shown in practice one of its possibilities to influence a
                 group of people in thei r own selfish interests, using the personal information collected about them. These blatant actions
                 reflect the true nature of Western services and their attitude towards their users. And such a truth about the methods of
                 work of the largest social network in the world threatens not only the lives of people, but also the sovereignty of entire
                 countries ...



                 If you were also affected by this incident. please share your story and topics here. how did you manage to unblock your
                 page or what other information representatives of the social network told you.


                 Links by which the v1ct1ms contact Face book and lnstagram support with a request to understand the situation and remove
                 the blocking.

                    0   Please login or register to view hidden content .



                    0   Please login or register to view hidden content .



                    0   Please login or register to view hidden content .



                    0   Please login or register to view hidden content .




                                                                                                                                          0 2

                 URL: https://ra.by/topic/9210-travlya-lyudey-administraciey-instagram-i-feysbuk/

                                                                47
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 49 of 61




                        EXHIBIT 6



                             48
                   Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 50 of 61


                               •
                                                                                                   0 + 1.650.838.4300
PeRKINS COle                                                     3150 Porter Drive
                                                                 Palo Alto, CA 94304-1212          G +1.650.838.4350
                                                                                                      PerkinsCoie.com




February 12, 2020                                                                                   Gabriella Gallego
                                                                                            GGallego@perkinscoie.com
                                                                                                  D. +1.650.838.4815


VIA EMAIL

Nikolay Holper
belarusgirls@holper.by, belorusy@holper.by, blablablam@holper.by,
holper@mail.ru, jaholper@gmail.com, mail@holper.by, pr@holper.by,
tester@holper.by, zismo@holper.by, zy@holper.by
Minsk, Belarus

Re:           Cease and Desist Abuse of Instagram - Nakrutka

Dear Mr. Holper:

We represent Facebook, Inc., based in Menlo Park, California. It has come to our attention that
you are offering services that automate multiple actions on Instagram, a Facebook product,
including fake engagement services, through websites including Nakrutka.by. Furthermore, you
charge a fee for these services. We understand that Facebook has already informed you that the
operation of your fake engagement services targeting Instagram violates its Terms of Use and that
you must cease all such activity, but you have failed to comply.

Facebook demands that you stop this activity immediately.

Facebook takes the protection of the user experience very seriously, and it is committed to keeping
its websites safe for users to interact and share information. Instagram has developed its Terms of
Use to protect the user experience and to facilitate these goals.

Instagram’s Terms of Use prohibit, among other things:

             Misleading Instagram Users. Your service automates various Instagram activities,
              creating the false impression that actions taken from those accounts, and the accounts
              themselves, are associated with real persons. Similarly, the fake “likes,” “followers,” and
              related actions give the false impression of genuine interest in the content.

             Automating user actions. Your service automates several processes on Instagram,
              including delivering a “like.” It also allows an account to take multiple actions at once.
              Instagram’s terms prohibit companies from offering services to users that allow the user to
              take more than one action on Instagram at a time.

             Accessing Instagram through automated means. You may not access Instagram through
              automated means without Instagram’s prior permission.


147199433.1
Perkins Coie LLP




                                                      49
                   Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 51 of 61




Nikolay Holper
February 12, 2020
Page 2


             Facilitating or encouraging others to violate Instagram’s terms. Your software cannot be
              used on Instagram without violating their terms. By selling or licensing the software to
              others, you are facilitating the violations of Instagram’s terms as described above.

See Instagram Terms of Use, http://instagram.com/about/legal/terms/; and Instagram’s Platform
Policy, http://instagram.com/about/legal/terms/api/.

In addition to breaching the Terms of Use and interfering with Facebook’s business expectations
and interests, your activities may violate other federal and state laws. See Computer Fraud and
Abuse Act, 18 U.S.C. § 1030 and the California Comprehensive Computer Data Access and Fraud
Act, Cal. Penal Code § 502(c).

Facebook has taken technical steps to deactivate your Facebook and Instagram accounts, and
hereby revokes your limited licenses to access Facebook and Instagram. This means that you,
your agents, employees, affiliates, or anyone acting on your behalf (“You” or “Your”) may
not access the Facebook or Instagram websites, Platforms, or networks for any reason
whatsoever. Facebook will treat any further activity by You on its websites, Platforms, services
or networks as intentional and unauthorized access to its protected computer networks.

Please respond to me WITHIN 48 hours confirming that You:

             Have stopped and will not in the future access the Facebook and Instagram websites and/or
              use Facebook’s and Instagram’s services for any reason whatsoever;

             Have preserved and will continue to preserve in the future all information related to Your
              offering and/or sale of Instagram services;

             Have stopped and will not in the future offer, transfer, market, sell or offer to sell any
              services related to Facebook and Instagram;

             Have shut down all websites You operate that are used to sell Facebook or Instagram
              services, and have removed all advertisements or postings on external websites advertising
              or describing Your Facebook or Instagram services;

             Have removed all references to Facebook and Instagram from any and all websites that
              You own or have the ability to control; and

             Will account for and disgorge any and all revenue earned from Your unauthorized activities
              related to Facebook and Instagram.

Along with Your responses, You must provide the following information:



147199433.1
Perkins Coie LLP




                                                     50
              Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 52 of 61




Nikolay Holper
February 12, 2020
Page 3


        A complete list of any and all Facebook and Instagram accounts You have created,
         developed, maintained, or controlled;

        A complete list of domain names that You own, maintain, or control presently, along with
         all domain names that you have previously used to offer Facebook or Instagram services;

        A detailed description of the methods used to automate Facebook and Instagram
         functionality and provide Facebook and Instagram related services;

        A complete accounting of each and every customer who purchased your Facebook or
         Instagram services, including an accounting of all compensation or revenue received by
         You, and the URLs for each profile and/or Page for which You rendered those services;
         and

        A copy of each and every version of any software code You have developed or used to
         interact with the Facebook and Instagram websites and/or services.

If you ignore this letter and continue your current improper conduct, Facebook will take whatever
measures it believes are necessary to enforce its rights, maintain the quality of its websites, and
protect users’ information and privacy.

This letter is not intended by us, and should not be construed by you, as a waiver or relinquishment
of any of Facebook’s rights or remedies in this matter. Facebook specifically reserves all such
rights and remedies whether at law or in equity, under applicable domestic and foreign laws.

Very truly yours,




Gabriella Gallego

GG




147199433.1




                                                51
Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 53 of 61




                        EXHIBIT 7



                             52
                                                                           Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 54 of 61
                                                                           2020-08-25 - Prices page from nakrutka.cc




                                                                                                                                                           Search:

                                                                                                                                                                                    Price over
                                                                                                                                              Minimum                Cost per
     ID .t.     Type of promotion              Description                                              Minimum                  Maximum                                            1000 for
                                                                                                                                              cost                   1000 (RUB)
                                                                                                                                                                                    resellers

1             1. Likes - 38r □               Bots with avatars.   I Write-offs: 98%                10                        10 000         0.38p for 10        38p per 1000      34p per 1000

                                             Subscribers mix: bots, offers, live. Speed
5             5. Subscribers - 185 rubles    up to a thousand per day. Cheat with a                10                        5 000          1.85p for 10        185p per 1000     167p per 1000
                                             margin.   I Write-offs: 40%
                                             Mix subscribers - offers and live from
              10. Subscribers - 269 rubles   different countries. Quick start and
10                                                                                                 100                       5 000          26. 9p per 100      269p per 1000     242p for 1000
                                             uniform wrapping with a margin.           I Write-
                                             offs: 37%

                                             Bots with avatars. No guarantee.          I Write-
11            11. Subscribers - 61 rubles                                                          10                        10 000         0.61p for 10        61pfor1000        55p per 1000
                                             offs: 99%

                                             Bots with avatars. Large write-offs.
                                             Automatic rewinding of subscribers
              12. Subscribers (AR7 + 300)
12                                           within 7 days if there is a lack of quantity,         10                        10 000         0.22p for 10        22p for 1000      20p per 1000
              - 22 rubles
                                             but not more than 300% of the number of
                                             subscribers ordered.    I
13            13. Subscribers - 36 rubles    Bots. No guarantee. Long start.       I               10                        3 000          0.36p for 10        36p for 1000      33p per 1000

                                             Mostly offer accounts from different
                                             countries, partially live, of different
15            15. Subscribers - 103 rubles                                                         10                        3 000          1.03p for 10        103p for 1000     93p for 1000
                                             quality. The speed depends on the
                                             current load.

                                             Mix subscribers - with and without
                                             avatars. Launch in a few days! Cheat is
              18. Subscribers - 235 rubles   made with a margin, small write-offs in
18                                                                                                 400                       2 500          94p for 400         235p per 1000     215p per 1000
                                             the first days. Lack of large write-offs in
                                             the long term. You can order again after
                                             the end of the promotion.

                                             Mix of offers and bots from different
20            20. Subscribers - 52 rubles    countries. Fast start. Added with a small             10                        2 000          0.52p for 10        52p per 1000      47p for 1000
                                             margin.

                                             Mix subscribers - offers from different
21            21. Subscribers - 99r          countries and Russian bots. No                        1                         5 000          0.1 p for 1         99p per 1000      89p for 1000
                                             guarantee.   I Write-offs: 99%
                                             Bots with avatars. No guarantee.          I Write-
22            22. Subscribers - 7p                                                                 10                        20 000         0.07p for 10        7p per 1000       6p per 1000
                                             offs: 99%

                                             Offers and bots mainly with avatars and
23            23. Subscribers - 179 rubles   publications. No guarantee.      I Write-offs:        10    53
                                                                                                                             2 500          1.79p for 10        179p per 1000     161p per 1000
                                                                      Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 55 of 61




                                    offs: 99%

                                    Offers and bots mainly wi t h avatars and
23   23. Subscribers - 179 rubles   publicat ions. No guarantee.         I Wri te-offs:       10                        2 500          1.79p for 10    179p per 1000   161 p per 1000
                                    97%

                                    Most ly Russian offers wi t h avatars and
24   24. Subscribers - 272 rubles                                                             500                       10 000         136p for 500    272p per 1000   244p per 1000
                                    publicat ions. Start during the day.

                                    The starting speed depends on t he
26   26. Likes - 39r
                        □           current load. Bots wi t h avatars.        I Write-        10                        5 000          0.39p for 10    39p per 1000    35p per 1000
                                    offs: 41%

                                    Fast. Offers and Russian bots like offers
28   28. Likes - 91 r
                        □           mainly wi t h avatars and publications.           I       1                         10 000         0.09p for 1     91 p per 1000   82p per 1000
                                    Wri te-offs: 97%

                                    Launching wi t hin a few days. Bots with
29   29. Likes - 34r
                        □           avatars.    I Wri te-offs: 96%
                                                                                              10                        3 000          0.34p for 1O    34p per 1000    31p per 1000


30   30. Likes - 19 years           Bots with avatars. Large write-offs.                      10                        4000           0. 19p for 1O   19p per 1000    17p per 1000

                                    Mix of offers and bots from different
32   32. Likes - 27p                                                                          10                        1 000          0.27p for 1O    27p per 1000    24p for 1000
                                    count ries. Moderate wri te-offs.

                                    Fast promot ion wi t h nat ural content from
                                    accounts from different countries, most ly
                                    live ones, wi t h a large number of
                                    publicat ions and subscribers. Wlth likes,
33   33. Likes - 175r    0v'                                                                  10                        25 000         1.75pfor 10     175p for 1000   150p per 1000
                                    reach, impressions and views increase.
                                    Some users can also save t he post, go to
                                    a profile or wri te a comment. Wri te-offs -
                                    3%

                                    Most ly offer accounts from different
                                    count ries, partially live, of different
34   34. Likes - 52r □                                                                        10                        3 000          0.52p for 10    52p per 1000    46p for 1000
                                    quality. The speed depends on t he
                                    current load.    I Wri te-offs:   19%

                                    Offers and bots wi t h and wi t hout avatars.
                                    From different count ries, partly Russian.
35   35. Likes - 120p               The speed depends on t he current load.                   10                        5 000          1.2p for 1O     120p for 1000   11 Op for 1000
                                    With likes, coverage and impressions are
                                    added. Wri te-offs are minimal.

                                    Bots. Slow start. The speed depends on
36   36. Likes - 22p                t he current load. Unstable.        I Write-offs:         10                        5 000          0.22p for 1O    22p for 1000    20p per 1000
                                    82%

                                    Russian bots with avatars and human
37   37. Likes - 123p                                                                         10                        10 000         1.23p for 1O    123p per 1000   111 p for 1000
                                    names.      I Wri te-offs: 34%
                                    Offers and bots wi t h avatars, partly wi t h
38   38. Likes - 92p                                                                          10                        5 000          0.92p for 10    92p per 1000    82p per 1000
                                    publicat ions.    I Wri te-offs: 95%
                                    Toget her wi t h video views, coverage and
                                    stat ist ics increase: 60% of viewers watch
                                    videos from an interest ing one, 25% from
     48. Video views wi t h               ...                                      . . -..          54
                                                                  Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 56 of 61




                                  Toget her wi t h video views, coverage and
                                  stat ist ics increase: 60% of viewers watch
                                  videos fro m an interest ing one, 25% fro m
     48. Video views wi t h
48                                a profile, 10% fro m a main page and 10%                100                       10 000 000     0.3p per 100    3p for 1000       2p per 1000
     stat ist ics - 3p
                                  from anot her. 20% of viewers move fro m
                                  post to profile, increasing profile views.
                                  Interrupt ions are possible.

51   51. Video views - 1p □       Fast. With profile v iews and views.                    100                       10 000 000     0.1 pfor 100    1pfor 1000        0. 9p per 1000

     61. Comments RU - 1700r      Posit ive comments, most ly from Russian
61                                                                                        1                         200            1.7p for 1      1700p for 1000    1540p for 1000
       □                          real lnstagram users.

                                  Own com ments, most ly from Russian real
     62. Own comments - 1111
62                                lnstagram users. Comments are added                     1                         50             1.11 p for 1    1111 p for 1000   1OOOp for 1000
     rubles   .,O
                                  from different accounts, one per line.

                                  Russian comments on t he post are
64   64. Com men ts ru - 1515r                                                            1                         100            1.52p for 1     1515p for 1000    1370p for 1000
                                  most ly from Russian lnstagram users.

                                  Cheat profile visi ts. lnstagram updates
84   84. Profile visi ts - 7p     stat ist ics with a delay, profile stat ist ics         100                       50 000         0.7pper 100     7p per 1000       6p per 1000
                                  are updated t he next day.

                                  lnstagram updates stat ist ics wi t h a delay,
85   85. Profile visi ts - 1p                                                             100                       10 000 000     0. 1pfor 100    1pfor 1000        0. 9p per 1000
                                  profile stat ist ics are updated t he next day.

     86. Views of temporary
86                                Provide a link to your account.                         10                        15 000         0.03p for 1O    3p for 1000       2p per 1000
     stories (Story) - 3p

                                  Provide a link to your account. All
                                  temporary stories will be viewed t he
     87. Views of temporary       specified number of t imes. Profile views
87                                                                                        10                        3 000          0.1 1p for 1O   11 pper 1000      10p per 1000
     stories (Story) - 11 p       are also added. Offers and bots fro m
                                  different count ries, with and wi t hout
                                  avatars.

                                  Cheat unique visi tors for publicat ion from
                                  t he profile and main page. In business
                                  profiles, t he growth of indicators:
                                  Impressions and Reach. lnstagram
     91. Reach and im pressions
91                                updates stat ist ics wi t h a delay. Fast start         25                        250 000        0.03p for 25    1pfor 1000        0.8p per 1000
     of t he publicat ion - 1p
                                  and smoot h promot ion. You can set t he
                                  speed - t he num ber of impressions per
                                  m inute: fro m 1 to 500, or leave t he
                                  maximum.

94   94. Conservat ion - 1p       Cheat publicat ion saves (bookmarks).                   100                       25 000         0.1 pfor 100    1pfor 1000        0.9p per 1000

                                  Cheat viewers of live broadcast on
                                  lnstagram . Provide a link to your account.
98   98. Viewers live - 256R      Order after t he launch of t he broadcast.              10                        10 000         2.56p for 1O    256p per 1000     200p for 1000
                                  Viewers will also leave likes and emoji
                                  com ments.

                                                                                                                                                                       Price over
                                                                                                55                                   Minimum         Cost per
                                                                     Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 57 of 61




            .
                                                              '
                                         are updated the next day.

                                         lnstagram updates statistics with a delay,
85        85. Profile visits - 1p                                                            100                       10 000 000     0.1pfor 100    1p for 1000     0. 9p per 1000
                                         profile statistics are updated the next day.

          86. Views of temporary
86                                       Provide a link to your account.                     10                        15 000         0.03p for 10   3p for 1000     2p per 1000
          stories (Story) - 3p

                                         Provide a link to your account. All
                                         temporary stories will be viewed the
          87. Views of temporary         specified number of times. Profile views
87                                                                                           10                        3 000          0.11p for 10   11p per 1000    10p per 1000
          stories (Story) - 11p          are also added. Offers and bots from
                                         different countries, with and without
                                         avatars.

                                         Cheat unique visitors for publication from
                                         the profile and main page. In business
                                         profiles, the growth of indicators:
                                         Impressions and Reach. lnstagram
          91. Reach and impressions

                                    --
91                                       updates statisti cs with a delay. Fast start        25                        250 000        0.03p for 25   1p for 1000     0.8p per 1000
          of the publication - 1p
                                         and smooth promotion. You can set the
                                         speed - the number of impressions per
                                         minute: from 1 to 500, or leave the
                                         maximum.

94        94. Conservation - 1p          Cheat publication saves (bookmarks).                100                       25 000         0.1pfor100     1p for 1000     O. 9p per 1000

                                         Cheat viewers of Iive broadcast on
                                         lnstagram . Provide a link to your account.
98        98. Viewers live - 256R        Order after the launch of the broadcast.            10                        10 000         2.56p for 10   256p per 1000   200p for 1000
                                         Viewers will also leave likes and emoji
                                         comments.

                                                                                                                                                                       Price over
                                                                                                                                        Minimum        Cost per
     ID     Type of promotion              Descripti on                                           Minimum                 Maximum                                      1000 for
                                                                                                                                        cost           1000 (RU B)
                                                                                                                                                                       resellers


Showing 1 - 36 of 36 items




                                                                        URL: https://nakrutka.cc/services.php
                                                                                                   56
                                                                          2020-08-25       - Prices page from nakrutka.com
                                                                          Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 58 of 61




                                                                                                                                                                           Search:

                                                                                                                                                                                                    Price over
                                                                                                                                                      Minimum                        Cost per
     ID •     Type of promotion              Descripti on                                              Minimum                     Maximum                                                          1000 for
                                                                                                                                                     cost                            1000 (RUB)
                                                                                                                                                                                                    resel lers

1           1. Likes - 38r □               Bots w ith avatars.   I Write-offs: 98%                10                      10 000                 0.38p for 10                   38p per 1000      34p per 1000

                                           Subscribers mix: bots, offers, live. Speed
5           5. Subscribers - 185 rub les   up to a thousand per day. Cheat wi t h a               10                      5 000                  1.85p for 1O                   185p per 1000     167p per 1000
                                           margin.   I Wri te-offs: 40%
                                           Mix subscribers - offers and live from
            10. Subscribers - 269          different count ries. Quick start and
10                                                                                                100                     5 000                  26.9p per 100                  269p per 1000     242p for 1000
            rubles                         uniform wrapping with a margin.            I Write -
                                           offs: 37%

                                           Bots w ith avatars. No guarantee.          I Write-
11          11. Subscribers - 61 rub les                                                          10                      10 000                 0.61pfor10                     61 p for 1000     55p per 1000
                                           offs: 99%

                                           Bots w ith avatars. Large wri te-offs.
                                           Automatic rewinding of subscribers
            12. Subscribers (AR7 + 300)
12                                         wi t hin 7 days if there is a lack of quantity,        1O                      10 000                 0.22p for 10                   22p for 1000      20p per 1000
            - 22 rubles
                                           but not more t han 300% o f t he number
                                           of subscribers ordered.    I
13          13. Subscribers - 36 rub les   Bots. No guarantee. Long start.        I               10                      3 000                  0.36p for 10                   36p for 1000      33p per 1000

                                           Mostly offer accounts from different
            15. Subscribers - 103          countries, partially live, of different
15                                                                                                10                      3 000                  1.03p for 10                   103p for 1 000    93p for 1000
            rubles                         quality. The speed depends on t he
                                           current load.

                                           Mix subscribers - w ith and without
                                           avatars. Launch in a few days! Cheat is
            18. Subscribers - 235          made with a margin, small write-offs in
18                                                                                                400                     2 500                  94p for 400                    235p per 1000     215p per 1000
            rubles                         the first days. Lack of large write-offs in
                                           the long term. You can order again after
                                           the end of t he promotion.

                                           Mix of offers and bots from different
20          20. Subscribers - 52 rub les   countries. Fast start. Added with a small              10                      2 000                  0.52p for 10                   52p per 1000      47p for 1000
                                           margin.

                                           Mix subscribers - offers from different
21          21. Subscribers - 99r          countries and Russian bots. No                         1                       5 000                  0.1pfor 1                      99p per 1000      89p for 1000
                                           guarantee.   I Write-offs: 99%
                                           Bots w ith avatars. No guarantee.          I Write-
22          22. Subscribers - 7p                                                                  10                      20 000                 0.07p for 10                   7p per 1000       6p per 1000
                                           offs: 99%

                                           Offers and bot s mainly with avatars and
            23. Subscribers - 179                                                                       57                ..... ,.. ..........   .. _.,...   r   ,. ,...                                    .. .......... ,...
                                                                    Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 59 of 61




                                    Offers and bots mainly with avatars and
23   23. Subscribers - 179 rubles   publicat ions. No guarantee.       I Write-offs:        10                        2 500          1.79p for 1O    179p per 1000   161 p per 1000
                                    97%

                                    Most ly Russian offers with avatars and
24   24. Subscribers - 272 rubles                                                           500                       10 000         136p for 500    272p per 1000   244p per 1000
                                    publicat ions. Start during t he day.

                                    The starting speed depends on t he
26   26. Likes - 39r
                         □          current load. Bots wi t h avatars.      I Wri te-       10                        5 000          0.39p for 1O    39p per 1000    35p per 1000
                                    offs: 41%

                                    Fast. Offers and Russian bots like offers
28   28. Likes - 91 r
                         □          mainly with avatars and publicat ions.          I       1                         10 000         0.09p for 1     91pper 1000     82p per 1000
                                    Write-offs: 97%

                                    Launching wi t hin a few days. Bots wi t h
29   29. Likes - 34r                                                                        10                        3 000          0.34p for 1O    34p per 1000    31p per 1000
                                    avatars.   I Write-offs: 96%
30   30. Likes - 19 years           Bots wi t h avatars. Large wri te-offs.                 10                        4000           0. 19p for 1O   19p per 1000    17p per 1000

                                    Mix of offers and bots from different
32   32. Likes - 27p                                                                        10                        1 000          0.27p for 1O    27p per 1000    24p for 1000
                                    count ries. Moderate write-offs.

                                    Fast promot ion with nat ural content from
                                    accounts from different count ries, most ly
                                    live ones, wi t h a large number of
                                    publicat ions and subscribers. Wi t h likes,
33   33. Likes - 175r    t.w        reach, impressions and views increase.
                                                                                            10                        25 000         1.75p for 10    175p for 1000   150p per 1000

                                    Some users can also save t he post, go to
                                    a profile or wri te a comment. Wri te-offs -
                                    3%

                                    Most ly offer accounts from different
                                    count ries, partially live, of different
34   34. Likes - 52r □                                                                      10                        3 000          0.52p for 10    52p per 1000    46p for 1000
                                    quality. The speed depends on t he
                                    current load.    I Write-offs: 19%
                                    Offers and bots with and without avatars.
                                    From different countries, partly Russian.
35   35. Likes - 120p               The speed depends on t he current load.                 10                        5 000          1.2p for 10     120p for 1000   11 Op for 1000
                                    Wi t h likes, coverage and impressions are
                                    added. Wri te-offs are minimal.

                                    Bots. Slow start. The speed depends on
36   36. Likes - 22p                the current load. Unstable.      I Wri te-offs:         10                        5 000          0.22p for 1O    22p for 1000    20p per 1000
                                    82%

                                    Russian bots wi t h avatars and human
37   37. Likes - 123p                                                                       10                        10 000         1.23p for 1O    123p per 1000   111 p for 1000
                                    names.     I Wri te-offs: 34%
                                    Offers and bots with avatars, partly with
38   38. Likes - 92p                                                                        10                        5 000          0.92p for 1O    92p per 1000    82p per 1000
                                    publicat ions.   I Wri te-offs: 95%
                                    Toget her wi t h video views, coverage and
                                    stat istics increase: 60% of viewers watch
                                    videos from an interest ing one, 25% from
     48. Video views wi t h
48                                  a profile, 10% from a main page and 10%                 100                       10 000 000     0.3p per 100    3p for 1000     2p per 1000
     stat ist ics - 3p                                                                            58
                                    frnm ;innt hPr ?00/n nf viPwPrc; mnvP frnm
                                                                   Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 60 of 61




38   38. Likes - 92p                                                  '                    10                        5 000          0.92p for 1O    92p per 1000      82p per 1000
                                  publicat ions.   I Wri te-offs: 95%
                                  Toget her wi t h video views, coverage and
                                  stat ist ics increase: 60% of viewers watch
                                  videos fro m an interest ing one, 25% fro m
     48. Video vi ews wi t h
48                                a profile, 10% from a m ain page and 10%                 100                       10 000 000     0.3p per 100    3p for 1000       2p per 1000
     stat ist ics - 3p
                                  from anot her. 20% of viewers move from
                                  post to profile, increasing profile views.
                                  Interrupt ions are possible.

51   51. Video views - 1 p □      Fast. Wi t h prof ile views and views.                   100                       10 000 000     0. 1pfor 100    1pfor 1000        0. 9p per 1000

     61. Comments RU - 1700r      Positive comments, m ost ly from Russian
61                                                                                         1                         200            1.7p for 1      1700p for 1000    1540p for 1000
       □                          real lnstagram users.

                                  Own comments, most ly from Russian
     62. Own com ments - 1111     real lnstagram users. Com ments are
62                                                                                         1                         so             1.11 p for 1    1111 p for 1000   1OOOp for 1000
     rubles _ □                   added from different accounts, one per
                                  line.

                                  Russian com m ents on t he post are
64   64 . Comments ru - 1515r                                                              1                         100            1. 52p for 1    1515p for 1000    1370p for 1000
                                  m ost ly from Russian lnstagram users.

                                  Cheat profile visi ts. lnstagram updates
84   84. Profile visi ts - 7p     stat ist ics wi t h a delay, profile stat ist ics        100                       so 000         0.7p per 100    7p per 1000       6p per 1000
                                  are updated t he next day.

                                  lnstagram updates stat ist ics wi t h a delay,
85   85. Profile visi ts - 1 p    profile stat ist ics are updated t he next               100                       10 000 000     0. 1pfor 100    1pfor 1000        0. 9p per 1000
                                  day.

     86. Views of temporary
86                                Provide a link to your account.                          10                        15 000         0.03p for 1O    3p for 1000       2p per 1000
     stories (Story) - 3p

                                  Provide a link to your account. All
                                  tem porary stories will be viewed t he
     87. Views of temporary       specified number of t imes. Profile views
87                                                                                         10                        3 000          0.11 p for 1O   11 pper 1000      10p per 1000
     stories (Story) - 11 p       are also added. Offers and bots fro m
                                  different count ries, wi t h and wi t hout
                                  avatars.

                                  Cheat unique visi tors for publicat ion from
                                  t he profile and main page. In business
                                  profiles, t he growth of indicators:
                                  Impressions and Reach. lnstagram
     91. Reach and impressions
91                                updates stat ist ics wi t h a delay. Fast start          25                        250 000        0.03p for 25    1pfor 1000        0.8p per 1000
     of t he publicat ion - 1 p
                                  and smoot h promot ion. You can set t he
                                  speed - t he number of impressions per
                                  m inute: from 1 to 500, or leave t he
                                  maxi mum.

94   94. Conservat ion - 1 p      Cheat publicat ion saves (bookm arks).                   100                       25 000         0.1pfor 100     1pfor 1000        0. 9p per 1000

                                  Cheat viewers of live broadcast on
                                  lnstagram . Provide a link to your account.
98   98. Viewers live - 256R      Order after t he launch of t he broadcast.               10                        10 000         2.56p for 1O    256p per 1000     200p for 1000
                                                                                                 59
                                                                    Case 3:20-cv-06023-JCS Document 1 Filed 08/27/20 Page 61 of 61




                                        are updated the next day.

                                        lnstagram updates statistics with a delay,
85        85. Profile visits - 1p       profile statistics are updated the next             100                       10 000 000     0.1pfor 100     1p for 1000     0.9p per 1000
                                        day.

          86. Views of temporary
86                                      Provide a link to your account.                     10                        15 000         0.03p for 10    3p for 1000     2p per 1000
          stories (Story) - 3p

                                        Provide a link to your account. All
                                        temporary stories will be viewed the
          87. Views of temporary        specified number of times. Profil e views
87                                                                                          10                        3 000          0.1 1p for 1O   11p per 1000    10p per 1000
          stories (Story) - 11p         are also added. Offers and bots from
                                        different countries, w ith and without
                                        avatars.

                                        Cheat unique visitors for publication from
                                        t he profile and main page. In business
                                        profiles. the growth of indicators:
                                        Impressions and Reach. lnstagram
          91. Reach and impressions
91
          of the pub Iication - 1p  -   updates stati stics with a delay. Fast start        25                        250 000        0.03p for 25    1p for 1000     0.8p per 1000
                                        and smooth promotion. You can set the
                                        speed - the number of impressions per
                                        minute: from 1 to 500, or leave the
                                        maximum.

94        94. Conservation - 1p         Cheat publication saves (bookmarks).                100                       25 000         0.1pfor 100     1p for 1000     0.9p per 1000

                                        Cheat viewers of live broadcast on
                                        lnstagram. Provide a li nk to your account.
98        98. Viewers live - 256R       Order after the launch of the broadcast.            10                        10 000         2.56p for 10    256p per 1000   200p for 1000
                                        Viewers will also leave likes and emoj i
                                        comments.

                                                                                                                                                                       Price over
                                                                                                                                       Minimum         Cost per
     ID     Type of promotion             Description                                          Minimum                   Maximum                                       1000 for
                                                                                                                                       cost            1000 (RUB)
                                                                                                                                                                       resellers


Showing 1 - 36 of 36 items




                                                                     URL: https://nakrutka.com/services.php
                                                                                                  60
